Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 1 of 11 Page ID #:1



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                                                                                     DISTRICTCOUR'T
                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA                         APR 2 92021
                                                                                       OF CALIFORNIA
                                                                                             DEPUTY
EVELYN MARTINEZ,                            )
                                                                                          Fce dad
                    Plaintiff,              )
                                                  CIVIL ACTION
           vs                               )     CASE NO.2~ 2~ Cv X135'PA- MA~~(


                                                  COMPLAINT
UNITED STATES OF AMERICA,                   )

                    Defendant.              )



                           I. RELATED CASES

a. None

                       II. JURISDICTION and VENUE

    1. Plaintiff, Evelyn Martinez, hereby brings this action against Defendant,

United States of America under the FTCA,28 U.S.0 1346(b) and 2671-2680

which provides that under the FTCA,thus fully outlined above a Plaintiff can seek

"monetary compensation when a Government employee, acting within the scope

of employment, injures another by a negligent or wrongful act or omission,

commits medical negligence where a breach in the standard of care took place

and that "breach proximately caused an injury" the Plaintiff thus can seek relief

in a Federal District court. The venue is correct because the acts) occurred within


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Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 2 of 11 Page ID #:2




this Court's federal jurisdiction as the Defendant is located in Los Angeles

County and thus the US Central District Court, Western Division, is the

appropriate venue.

   2. This Court has jurisdiction because there is a Federal question as stipulated

by the Federal Tort Claims Act(FTCA)whereas a Plaintiff can seek relief against

the US government for damages sustained due to their negligence, medical

negligence andlor wrongful acts thus this Court has proper jurisdiction to hear

the Plaintiffs redress complaint.

                                    PARTIES

   3. Plaintiff, Evelyn Martinez is a citizen ofthe United States, State of California

and currently resides within the County of Los Angeles.

   4. Defendant, is the United States Government, Department of Veteran's

Affairs conducting medical care in the County of Los Angeles in the State of

California.

                              INTRODUCTION


    5. Plaintiff, filed a timely administrative tort claim against the

Department of Veteran's Affairs, for acts committed against her starting on

September 12, 2019. The Plaintiff is a Veteran and sought medical eye care

after visiting the VA's emergency room on September 6th,2019 because she

had developed cataracts and needed them taken care of with surgery but instead
Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 3 of 11 Page ID #:3




on September 12, 2019 mere hours after a 3 hour appointment with the Defendant

the Plaintiff lost her vision completely in the eye tampered with by the Defendant

and on November 5th,2020, the Defendant, denied the Plaintiff's claim for redress

via compensation under the FTCA.


            III. CAUSE OF ACTION MEDICAL NEGLIGENCE

   6. Plaintiff, on September 6th,2019, went to the Defendant's

West LA, VA Emergency room hospital, complaining of vision problems that

had gotten worse and at that time was diagnosed with cataracts in both eyes after

a short test. The Plaintiff was given a referral appointment to see the Defendant's

eye clinic doctors for September 12t", 2019.

   7. The Plaintiff attended the appointment where she was given standard test

to check where the Plaintiff's vision was at and it was well documented that the

Plaintiff at that time did have vision in her left eye as well as her right eye although

in her right eye it was a cloudy and blurry view because of a very big cataract.

   8. The Plaintiff then proceeded to be seen by a doctor named

Claire S. Smith whom the Plaintiff understood at that time to be a full fledge doctor

Optometrist but according to clinic reports was really a Resident. The Defendant

was also in the company ofanother female doctor who the Plaintiffremembers being

introduced as a Resident doctor and would be watching Doctor Smith tend to my

eye. The second Resident's name does not appear in the Plaintiffls clinic report
Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 4 of 11 Page ID #:4




at all.

    9. The Plaintiff was tended to by Dr. Smith from 1:42pm to 3:38pm

approximately during which time the Plaintiff whom was already accurately

diagnosed with a very big cataract in her right eye that did not allow any further

viewing of the back of her eye such as her retina and optic nerve was subjected

to all kinds of further intrusive procedures by Dr. Smith.

     10. The Plaintiff believed and trusted the Defendant and let the Defendant

conduct for 2 hours procedures that the Plaintiff had no way of knowing or

understanding would cause harm to the Plaintiffs eye.

      1 1. The Defendant proceeded to give the Plaintiff an ultrasound in her right

eye an eye with a massive cataract that another doctor already had classified as too

large of a cataract to see to the back of the eye still the Defendant carried on stating

they wanted to see if there was any bleeding in the back of the eye and the answer

was no.

     12. The Defendant then proceeded to do an eye pressure test and eye dilation

on Plaintiff's both eyes. The Plaintiff felt high discomfort when the Defendant

focused their test mostly on the Plaintiff's right eye. The Plaintiff s sinus were

in discomfort. The Plaintiff trusted the Defendant and let them continue procedures

on her eye specifically Dr. Smith.

     13. The Defendant was taking notes via the Defendant's computer


4
Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 5 of 11 Page ID #:5




documenting system the whole time during the visit and by all accounts nothing

was translated to the Plaintiff by the Defendant as finding anything abnormal during

all the procedures the Plaintiff was subjected to in her right eye.


              IV. WRONGFUL and NEGLIGENT MEDICAL ACT


     14. The Plaintiff sat through procedure after procedure that the Defendant

subjected the Plaintiff's right eye through for a solid 2 hours including at least

the presenting oftwo types of eye drops that were put in her eye and then

towards the very end of the procedures)the Defendant started pricking and poking

the Plaintiff's right eye with force so much so that the Plaintiff squirmed in her seat

pushing back trying to stop the pain and discomfort the Plaintiff was now feeling

a pressure so intense that the Plaintiff's sinuses also started running.

     15. The Plaintiff now understands that what the Defendant was doing was

tampering with the Plaintiff's optic nerve weakening it because the Defendant was

notjust standing there looking at the Plaintiffs eye but was poking and pricking her

fragile, cataract filled eye to such an intentional extent that it would cut off blood

flow and thus blind the Plaintiff.

     16. The Plaintiff was innocent to the Defendant's intent with her eye and

finally when the Defendant was done about 3:40pm working on her cataract eye the

Plaintiff went home and hours later after the Defendant worked on her eye
Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 6 of 11 Page ID #:6




unnecessarily and excessively the Plaintiffls eye suddenly exploded with

intense pain and the Plaintiff's vision slowly dimmed from cloudy to gray and then

to dark.

    17. The Plaintiff went to see the Defendant about the sudden vision loss

and they offered no logical or medical rational nor could now anything be done.

    18. The Plaintiff still allowed the Defendant to perform a surgical procedure

on the Plaintiff's right eye to remove the troubled cataract on October 25, 2019

thinking that maybe she would be able to see again and that surgery would fix her

vision problem but sadly it was not and in the process of having the Defendant

proceed with the cataract surgery the operating doctor named Dr. Judd Cahoon

another Resident also conducted himself in an intentionally negligent, medical

manner against the Plaintiff by pressing so hard into the Plaintiffs eye as he

operated on her eye that the Plaintiff's body jumped up offthe operating table an act

done intentionally to the Plaintiff by a Defendant hell-bent on causing the Plaintiff's

eye continuous harm.

                                   V. DAMAGES

    19. The Plaintiff has suffered permanent vision loss on September 12, 2019

that happened within hours after visiting the Defendant's eye clinic and after being

negligently and medically wrongfully treated.

     20. On October 25, 2019 during surgery to remove the cataract from the
Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 7 of 11 Page ID #:7




right eye the Defendant again continued their assault on the Plaintiff's eye by

senselessly causing more pain and unnecessary discomfort to the Plaintiff's eye

by pressing down on it so hard thus making sure Plaintiff s eye never recovered.

  21. The Defendant caused the Plaintiff a permanent injury and now only has

one functioning eye instead oftwo.


                                CONCLUSION

  22. The Plaintiff trusted the Defendant and allowed the Defendant to

proceed with procedures the Defendant knew or should have known simply were

not necessary in order to treat the Plaintiff's cataract. The Defendant proceeded

against the Plaintiff with complete disregard for her welfare and the welfare of

her sight now forever affected. The Plaintiff's oath to do no harm was clearly

not at all on the Defendant's mind when they chose to harm the Plaintiff.


                          VI. DEMAND JURY TRIAL


    b. Jury Trial Requested


                               RELIEF SOUGHT


  WHEREFORE,the Plaintiff request the following relief respectfully that the

Plaintiff is granted compensatory and punitive damages against the Defendant and

that such Relief is in the amount of five million dollars ($5,000,000.00). The
Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 8 of 11 Page ID #:8




Plaintiff also request that the Court grants any and all other Relief the Court deems

right and proper against the Defendant for their wrongful and negligent acts against

the Plaintiff.




DATED            ~- , ~   ~ ~~ a




                                         EVELYN MARTINEZ
                                         Plaintiff, Pro Se
                                         5632 Van Nuys Blvd.,
                                         Sherman Oaks,CA 91401
                                         Tel(310)999-5888




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            ~,'~        U.S. Department of Veterans Affairs                 Torts Lavv Ca~oup (021)
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                        Office of General Counsel                           Vllashington, DC 20420
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                                                                            ~'elephorae:(202)461-4J00
     Certified mail #7019 2280 0000 6144 6361
                                                                            in Reply Refer To: GCL 476794

     November 5, 2020

     Ms. Evelyn Martinez
     5632 Van Nuys Blvd.
     Unit #1219
     Sherman Oaks, CA 91401

     RE:           Administrative Tort Claim

     Dear Ms. Martinez:

     The Department of Veterans Affairs(VA) has thoroughly investigated the facts and
     circumstances surrounding your administrative tort claim. Our adjudication of the claim
     included a review of your medical records and a review of the claim by a medical reviewer in a
     different part of the country.

     The Federal Tort Claims Act(FTCA), 28 U.S.C. §§ 1346(b) and 2671-2680, under which you
     filed the claim, provides for monetary compensation when a Government employee, acting
     within the scope of employment, injures another by a negligent or wrongful act or omission.
     Medical negligence means there was a breach in the standard of care and that breach
     proximately caused an injury. The standard of care is the level at which similarly qualified
     medical professionals would have managed the care under the same or similar
     circumstances. Our review concluded that there was no negligent or wrongful act on the part
     of an employee of the Department of Veterans Affairs(VA)acting within the scope of
     employment that caused you compensable harm. Accordingly, the claim is denied.

     If you are dissatisfied with the denial of the claim, you may file suit directly under the FTCA, 28
     U.S.C. §§ 1346(b) and 2671-2680. The FTCA provides that when an agency denies an
     administrative tort claim, the claimant may seek judicial relief in a Federal district court. The
     claimant must initiate the suit within six months of the mailing of this notice as shown by the
     date of this denial (28 U.S.C. § 241~1(b)). In any lawsuit, the proper pariy defendant is the
     U nited estates, not the Department of Veterans Affairs.

     Please note that FTCA claims are governed by a combination of Federal and state
     laws. Some state laws may limit or bar a claim or lawsuit. VA attorneys handling FTCA
     claims work for the Federal government and cannot provide advice regarding the impact of
     state laws or state filing requirements.

     Sincerely,

     ~~

     Cynthia Hernandez
     Deputy Chief Counsel
     Case 2:21-cv-03735-FWS-MAR Document 1 Filed 04/29/21 Page 10 of 11 Page ID #:10




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